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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

USA,                                      )
                                          )
              Plaintiff,                  )                  8:05cr274
                                          )
       v.                                 )
                                          )
ROSIO CRUZ,                               )                   ORDER
                                          )
              Defendants.                 )
                                          )



       The Clerk's Office has requested that Document Number 33 be stricken from the

record for the following reason(s):

              •       Incorrect/Incomplete PDF document attached.

       IT IS THEREFORE ORDERED that the Clerk’s Office shall strike Document

Number 33 from the record.

       DATED this 23rd day of September, 2005.

                                         BY THE COURT:


                                         s/ F.A. Gossett
                                         United States Magistrate Judge
